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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )          4:05CR3001-2
                                               )
              Plaintiff,                       )
                                               )
       vs.                                     )          MEMORANDUM
                                               )          AND ORDER
COURTNEY ALLEN CONEY,                          )
                                               )
              Defendant.                       )

       Pending before me is a report and recommendation from a magistrate judge that
recommends that I accept the defendant’s plea of guilty. There is no objection to the report
and recommendation. After careful consideration and de novo review,

       IT IS ORDERED that:
       1.     The report and recommendation (filing 104) is accepted.
       2.     The defendant is found guilty. The plea is accepted. The court decides that
              the plea of guilty is knowing, intelligent, voluntary, and that there is a factual
              basis for the plea.
       3.     If there is a plea agreement, I defer acceptance of the plea agreement until the
              time of sentencing pursuant to Rule 11(c)(3). Unless otherwise stated at the
              time of sentencing, the plea agreement will be deemed accepted upon the
              pronouncement of the judgment and sentence.
       4.     This case shall proceed to sentencing.

       July 6, 2005.                               BY THE COURT:

                                                   s/ Richard G. Kopf
                                                   United States District Judge
